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UNITED STATES DISTRICT COURT

soUTHERN DISTRICT oF INDIANA 18FE§: 23 rca iv .¢
INDIANAPOLIS DIVISION l ' 214
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UNITED STATES OF AMERICA, ) §‘j$;:n b
) _ .
Plainti]j§ )
)
v. ) Cause No.
)
LEMONTRAE BIBLE )
C
AKA LEMONTRAE KIMONI BIBLE, § 1 . 1 8 ., g E»_ 0 9 5 SEB _DML
Defendant. )
IN D l C T M E N T
The Grand Jury charges that:
COUNT ONE

(Felon in Possession of a Firearm and Ammunition)
18 U.S.C. § 922(g)(l)

Between on or about January 24, 2018, and on or about January 26, 2018, Within the
Southern District of Indiana, Indianapolis Division, and elsewhere Within the jurisdiction of the
Court, the defendant,

LEMONTRAE BIBLE
AKA LEMONTRAE KIMONI BIBLE,

having been convicted of one or more felony crimes punishable by imprisonment for a term
exceeding one (l) year, to Wit:
Possession of a Na;rcotic Drug as a class C felony under Cause No. 49G20-131 l-
FC-O75905, in Marion County Superior Court, Indiana, on or about March 12,
2014, and;

Dealing in a Narcotic Drug as a class B felony under Cause No. 49G20-1204-FB-
024174, in Marion County Superior Court, Indiana, on or about July 23, 2013,

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did knowingly possess in and affecting commerce a firearm and ammunition, to Wit: a Mossberg
model 715P .22 caliber pistol bearing serial number EMJ3951506, loaded With twenty-six (26)
rounds of .22 caliber ammunition.

In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(2).

FORFEITURE ALLEGATION

l. The allegations in Count One of this lndictment are realleged as if fully set forth here,
for the purpose of giving the defendant notice that the United States intends to seek forfeiture of
various property pursuant to Title 18, United States Code, Sections 924 and 2253, and Title 28,
United States Code, Section 2461.

2. If convicted of the offense set forth in Count One of the Indictment, LEMONTRAE
BIBLE, AKA LEl\/IONTRAE KIMONI BIBLE, defendant herein, shall forfeit to the United States
the defendant’s interest in property seized by law enforcement on or about January 26, 2018,
including but not limited to:

a) A Mossberg model 715P .22 caliber pistol bearing serial number
EMJ3951506;

b) A Heritage Arms .22 caliber revolver bearing serial number G76102;

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c) A Taurus 9 mm semi-automatic pistol bearing serial number TIR36077; and

d) One hundred and forty-one (l4l) rounds of .22 caliber ammunition.

 

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JOSH J. MINKLER
UNITED STATES ATTORNEY

 

Jeffrey D. Prest Ylj '
Assistant Unite States Attorney

